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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA


IN RE:                                 )
                                       )
MATTHEW T. MINARIK,                    )      Case No. 25-10193-pmm
                                       )      Chapter 7
                Debtor                 )

          RESPONSE TO MOTION FOR SANCTIONS FOR VIOLATION OF THE
           AUTOMATIC STAY BY PPL ELECTRIC UTILITIES CORPORATION

         PPL Electric Utilities Corporation (“PPL EU”), by and through its attorneys, Fitzpatrick

Lentz & Bubba, P.C., responds to Debtor’s Motion for Sanctions for Violation of the Automatic

Stay, as follows:

         1.     Admitted, upon information and belief.

         2.     Admitted.

         3.     Admitted, upon information and belief.

         4.     Admitted. By way of further answer, PPL EU has policies and protocols in place

when it receives notices of bankruptcy or is advised of a bankruptcy filing.

         5.     Admitted, upon information and belief. By way of further answer, the notice was

sent to PPL EU via BEN (Bankruptcy Electronic Notification); however, PPL EU had

inadvertently failed to log the notification that was sent. The first notice that PPL EU had of the

bankruptcy filing was when it received the instant motion via fax on March 25, 2025. This motion

could have been avoided had Debtor’s counsel simply sent a “cease and desist” or other notice to

PPL EU.

         6.     Denied. PPL EU did not willfully violate the automatic stay. When it received the

instant motion, it immediately took steps to rectify its error. In part, PPL EU sent a letter to the
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Debtor, with a copy to counsel, advising of the error and apologizing. See letter April 4, 2025,

attached hereto as Exhibit A.

       7.      Denied as stated. Any calls made by PPL EU related to payment were made without

notice of the bankruptcy filing and were made in error as a result of inadvertence and mistake.

       8.      Admitted. By way of further response, the notice was sent in error without

knowledge of the bankruptcy filing.

       9.      Denied.    After reasonable investigation, PPL EU is without knowledge or

information sufficient to firm a belief as to the truth of the allegations contained in Paragraph 9

and therefore denies the same.

       10.     Denied. It is denied that PPL EU willfully or intentionally violated the automatic

stay. Its actions were inadvertent and resulted only from an oversight on PPL EU’s part.

       11.     Because PPL EU denies that it willfully or intentionally violated the automatic stay,

no award of damages or fees is warranted or appropriate.

       12.     Denied. The allegations of this paragraph constitute conclusions of law to which

no response is required, and which are deemed denied.

       13.     Denied. The allegations of this paragraph constitute conclusions of law to which

no response is required, and which are deemed denied.

       14.     Denied. The allegations of this paragraph constitute conclusions of law to which

no response is required, and which are deemed denied.

       15.     Denied. The allegations of this paragraph constitute conclusions of law to which

no response is required, and which are deemed denied. Moreover, as set forth above, PPL EU’s

actions were the result in inadvertence and mistake, and not willfulness.
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       16.     Admitted in part, denied in part. As set forth above, PPL EU has procedures in

place to address bankruptcy matters and is aware of its legal obligations. The events related to this

matter arose through inadvertence and mistake and not willful conduct.

       17.     Denied. After reasonable investigation, PPL EU is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in Paragraph 17

and therefore denies the same. By way of further response, upon becoming aware of its error, PPL

EU immediately took steps to rectify that error and apologized to the Debtor for its mistake.

       18.     Denied. As outlined above, PPL EU’s conduct was a result of inadvertence and

mistake. Upon becoming aware of its error, PPL EU immediately took steps to rectify that error

and apologized to the Debtor for its mistake.

       19.     Denied. As outlined above, PPL EU’s conduct was a result of inadvertence and

mistake. Upon becoming aware of its error, PPL EU immediately took steps to rectify that error

and apologized to the Debtor for its mistake. PPL EU in no way intended to violate the automatic

stay or to collect a pre-petition debt. Rather, PPL EU, acted consistently with the fact that it was

mistakenly unaware of the bankruptcy filing.

       WHEREFORE, PPL Electric Utilities Corporation respectfully requests that the Court

deny the Debtor’s motion for sanctions and that it have such other and further relief as is just and

equitable.

                                      FITZPATRICK LENTZ & BUBBA, P.C.


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